                                                                               FORM 1
                                                                                                                                                        Page No:    1
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES

 Case No.:                      09-72532                                                                      Trustee Name:                          Mark H. Shapiro
 Case Name:                     TAJ Graphics Enterprises, LLC                                                 Date Filed (f) or Converted (c):       05/24/2019 (c)
 For the Period Ending:         03/31/2022                                                                    §341(a) Meeting Date:                  07/17/2019
                                                                                                              Claims Bar Date:
                            1                                   2                      3                                4                        5                      6
                     Asset Description                      Petition/              Estimated Net Value             Property                Sales/Funds            Asset Fully
                      (Scheduled and                      Unscheduled             (Value Determined by             Abandoned              Received by the        Administered
                 Unscheduled (u) Property)                   Value                       Trustee,            OA =§ 554(a) abandon.            Estate                 (FA)/
                                                                                 Less Liens, Exemptions,                                                         Gross Value of
                                                                                    and Other Costs)                                                            Remaining Assets

 Ref. #
1       MEMORANDUM OF                          (u)       $8,000,000.00                       $5,000.00                                          $0.00                        FA
        UNDERSTANDING BETWEEN
        CALVERT PROPERTIES, LLC
        AND DEBTOR SHARE OF
        REVENUES AND PROCEEDS
        OF SALE OF BUSINESS
2       CONSULTING AGREEMENT                   (u)           Unknown                         $5,000.00                                          $0.00                        FA
        AMONG CALVERT
        PROPERTIES, LLC AND
        ROBERT KATTULA,
        ASSIGNED TO DEBTOR -
        WRITTEN AGREEMENT
        ENTERED INTO MAY 15, 2006.
        SUBJECT TO VERBAL
        MODIFICATION ENTERED
        INTO JUNE 2006
3       MORTGAGE ON 4306                       (u)       $1,500,000.00                       $5,000.00                                          $0.00                        FA
        BRIGHTWOOD, TROY, MI
        48085 (DESCRIBED BY
        DEBTOR AS ROBERT &
        MARIA KATTULA LOCATION:
        4306 BRIGHTWOOD DR.,
        TROY, MI 48085)
 Asset Notes:   Asset deleted and moved to Statement of Financial Affairs as an assignment to Great Lakes Equities, LLC per Amendment filed 07/05/17;
4          CASH ON HAND                                              $500.00                        $0.00                                             $0.00                  FA
5          CAUSE OF ACTION AGAINST                  (u)             Unknown                         $0.00                                             $0.00                  FA
           JOHN D. HERTZBERT AND
           HIS LAW FIRM FOR BREACH
           OF DUTY OF LOYALTY AND
           OTHER IMPROPER ACTIONS


TOTALS (Excluding unknown value)                                                                                                              Gross Value of Remaining Assets
                                                             $9,500,500.00                    $15,000.00                                             $0.00                  $0.00



 Major Activities affecting case closing:
    04/01/2022     Order Setting Deadline for the Chapter 7 Trustee to File Any Reply Brief in Support of his Motion for Authority to Issue Subpoenas for the
                   Production of Documents and for the Examination of Witnesses entered [docket no. 1182]
    03/21/2022     Objections to Trustee's Motion for Authority to Issue Subpoenas for the Production of Documents and Examination of Witnesses filed [docket
                   no. 1181]
    03/10/2022     Motion for Authority to Issue Subpoenas for the Production of Documents and Examination of Witnesses filed [docket no. 1180]
    02/04/2021     Monitoring lawsuit in District Court 5:16-cv-12813-JEL-APP - was remanded back to District from Sixth Circuit via Appeal process
                   Lis Pendens recorded on real property titled in the name of Maria C. Kattula Living Trust Dated 10/23/95
    01/09/2020     Investigation of assets


    Initial Projected Date Of Final Report (TFR):           04/30/2021                                /s/ MARK H. SHAPIRO
    Current Projected Date Of Final Report (TFR):           12/31/2022                                MARK H. SHAPIRO



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